               Case: 3:24-cr-00050-jdp               Document #: 52-2         Filed: 11/08/24              ANDEREGG-BATES-000163
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AO 93 (Rev. 11/13) Search and Seizure Warrant



                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                     Western District of Wisconsin

                                                                   )
                In the Matter of the Search of
 N6960 Bice Ave, Holmen, LaCrosse County, Wisconsin;               ) Case No. 24-mj-5
                                                                   )
  2018 gray Tesla Model 3 with WI registration plate 830-
                                                                   )
     NLZ; silver 2017 Subaru Crosstrek SUV with WI                                                    SEALED
                                                                   )
registration plate 178-TNW; the person of Steven Anderegg
                                                                   )

                                                SEARCH AND SEIZURE WARRANT

To:       Any authorized law enforcement officer

        An application by a federal law enforcement officer or an attorney for the government requests the search of the
following premises located in the Western District of Wisconsin.

See Attachment A.

          The person or property to be searched, described above, is believed to conceal:

See Attachment B.

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the information
described in Attachment B.

          YOU ARE COMMANDED to execute this warrant on or before                     )·   7· 2..'-{    (not to exceed 14 days)
~ in the daytime 6:00 a.m. to 10 p.m. □ at any time in the day or night as I find reasonable cause has been established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge Stephen L.
Crocker or United States Magistrate Judge Andrew R. Wiseman.

         □ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18
U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this .w~rrant to delay notice to the person who,
or whose property, will be searched or seized (check the appropriate box) □for Days clelayeci days (not to exceed 30)
□ until, the facts justifying, the later specific date of Date ending.


          D Entry without knocking and announcing authority and purpose authorized.

Date and time issued:
                           Z.·2.O-2£.{     A"• ):17 9f'\
                                                                                                 Judge 's signature
                                                                               Magistrate Judge Stephen L. Crocker
                          Madison, Wisconsin
                                                                               Magistrate Judge Andrew R. Wiseman
             Case: 3:24-cr-00050-jdp                     Document #: 52-2      Filed: 11/08/24            Page 2 of 54
                                                                                                         ANDEREGG-BATES-000164


AO 93 (Rev, 11/13) Search and Seizure Warrant (Page 2)

                                                                 Return
Case No.:                              Date and time warrant executed:        Copy of warrant and inventory left with:
24-mj-5
Inventory made in the presence of

Inventory of the property taken and name of any person(s) seized:




                                                              Certification


       I declare under penalty ofperjury that this inventory is correct and was returned along with the original
warrant to the designated judge.


Date:
                                                                                    E.xecut;ng officer's signature



                                                                                       Printed name and title
  Case: 3:24-cr-00050-jdp      Document #: 52-2       Filed: 11/08/24     Page 3 of 54
                                                                         ANDEREGG-BATES-000165




                                  ATTACHMENT A

      1.     The property to be searched is N6960 Bice Ave, Holmen, LaCrosse

County, Wisconsin further described as a two-story, single-family residence on the east

side of the street that faced to the west. The residence had an attached three car garage.

The house is covered in a mix of light tan horizontal vinyl siding and light brown/ gray

brick. The lower third of the garage pillars and entire front porch area have the same

brick. The front door is tan and has a thin vertical window to the left of the door. The

top of the door has a window shaped in a half-circle. Affixed horizontally to the brick

on the pillar to the right of the garage are the numbers "N6960." At the end of the

driveway is a green sign affixed to a metal post with the numbers on "N6960"

vertically. The roof appears to have brown asphalt shingles. There appears to be one

storage shed visible from the road on the property. The shed is located south of the

residence and was brown in color.

      2.     The vehicles to be searched are a 2018 gray Tesla Model 3 with Wisconsin

registration plate 830-NLZ and a silver 2017 Subaru Crosstrek SUV with Wisconsin

registration plate 178-TNW, both returning to Anderegg's residence.

      3.     According to Anderegg' s driver's license, he is 6'2", weighs 220 pounds,

and has brown hair and blue eyes.
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                                                                            Page 4 of 54




                                    ATTACHMENT B

                             LIST OF ITEMS TO BE SEIZED

       1.     Cell phones, computer(s), computer hardware, computer software,

computer related documentation, computer passwords and data security devices,

videotapes, video recording devices, video recording players, and video display

monitors that may be, or are used to: visually depict child pornography, child erotica, or

visual representations of any kind of minors engaged in sexually explicit conduct;

display or access information pertaining to a sexual interest in child pornography;

display or access information pertaining to sexual activity with children; or distribute,

possess, or receive child pornography, child erotica, visual representations of any kind

of minors engaging in sexually explicit conduct, or information pertaining to an interest

in child pornography, child erotica, or any such visual representations.

       2.     Any and all computer software, including programs to run operating

systems, applications (such as word processing, graphics, or spreadsheet programs),

utilities, compilers, interpreters, and communications programs.

       3.     Any and all notes, documents, records, or correspondence, in any format

and medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and handwritten notes) pertaining to the distribution

or possession of child pornography, the production, distribution, or possession of

explicit material in violation of 18 U.S.C. §1466A, h·ansferring or attempting to transfer

obscene material to a minor in violation of 18 U.S.C §1470, or the importation or

transportation of obscene matter in violation of 18 U.S.C. §1462(a).
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                                                                             Page 5 of 54




       4.     In any format and medium, all originals, computer files, copies, and

negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions of

minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child

erotica, or cartoon, computer generated, or artificial intelligence generated child sexual

abuse material.

       5.     Any and all diaries, address books, names, and lists of names and

addresses of individuals who may have been contacted by the operator of N6960 Bice

Ave, Holmen, WI, by use of the computer or by other means for the purpose of

distributing or receiving in any format and medium, all originals, computer files,

copies, and negatives of child pornography as defined in 18 U.S,C. § 2256(8), visual

depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. §

2256(2), or child erotica, or cartoon, computer generated, or artificial intelligence

generated child sexual abuse material).

       6.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and handwritten notes), identifying persons

transmitting, through interstate or foreign commerce by any means, including, but not

limited to, by the United States Mail or by computer, any originals, computer files,

copies, and negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual

depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. §

2256(2), or child erotica, or cartoon, computer generated, or artificial intelligence

generated child sexual abuse material.
   Case: 3:24-cr-00050-jdp       Document #: 52-2      Filed: 11/08/24    ANDEREGG-BATES-000168
                                                                           Page 6 of 54




       7.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, other digital data files and web cache information)

concerning the receipt, transmission, or possession of child pornography as defined in

18 U.S.C. § 2256(8) or visual depictions of minors engaged in sexually explicit conduct,

as defined in 18 U.S.C. § 2256(2).

       8.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and other digital data files) concerning

communications between individuals about child pornography or the existence of sites

on the Internet that contain child pornography or visual depictions of any kind of

minors engaged in sexually explicit conduct, or that cater to those with an interest in

child pornography or such depictions.

       9.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and other digital data files) concerning membership

in online groups, clubs, or services that provide or make accessible child pornography

or visual depictions of any kind of minors engaging in sexually explicit conduct to

members.

       10.    Any and all records, documents, invoices and materials, in any format or

medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat

logs and electronic messages, and other digital data files) that concern any accounts
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                                                                            Page 7 of 54




with an Internet Service Provider.

       11.    Any and all records, documents, invoices and materials, in any format or

medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat

logs and electronic messages, and other digital data files) that concern online storage or

other remote computer storage, including, but not limited to, software used to access

such online storage or remote computer storage, user logs or archived data that show

connection to such online storage or remote computer storage, and user logins and

passwords for such online storage or remote computer storage.

       12.    Any and all cameras, film, videotapes or other photographic equipment.

       13.    Any and all visual depictions of minors.

       14.    Any and all address books, mailing lists, supplier lists, mailing address

labels, and any and all documents and records, in any format or medium (including,

but not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic

messages, and other digital data files), pertaining to the preparation, purchase, and

acquisition of names or lists of names to be used in connection with the purchase, sale,

trade, or transmission, through interstate or foreign commerce by any means, including

by the United States Mail or by computer, any child pornography as defined in 18

U.S.C. § 2256(8) or any visual depiction of minors engaged in sexually explicit conduct,

as defined in 18 U.S.C. § 2256(2).

       15.    Any and all diaries, notebooks, notes, and any other records reflecting

personal contact and any other activities with minors visually depicted while engaged

in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).
   Case: 3:24-cr-00050-jdp       Document #: 52-2       Filed: 11/08/24   ANDEREGG-BATES-000170
                                                                           Page 8 of 54




       16.    For any electronic storage device, computer hard drive, electronic device,

or other physical object upon which electronic information can be recorded (electronic

storage device) that is called for by this warrant, or that might contain things otherwise

called for by this warrant:

              a.     evidence of who used, owned, or controlled the electronic storage

device at the time the things described in this warrant were created, edited, or deleted,

such as logs, registry entries, configuration files, saved usernames and passwords,

documents, browsing history, user profiles, email, email contacts, chat, instant

messaging logs, photographs, and correspondence;

              b.     evidence of software that would allow others to control the

electronic storage device, such as viruses, Trojan horses, and other forms of malicious

software, as well as evidence of the presence or absence of security software designed to

detect malicious software;

              c.     evidence of the lack of such malicious software;

              d.     evidence indicating how and when the electronic storage device

was accessed or used to determine the chronological context of electronic storage device

access, use, and events relating to crime under investigation;

              e.     evidence indicating the electronic storage device user's location and

state of mind as it relates to the crime under investigation;

              f.     evidence of the attachment to the electronic storage device of other

storage devices or similar containers for electronic evidence;

              g.     evidence of counter-forensic programs (and associated data) that
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                                                                          Page 9 of 54




are designed to eliminate data from the electronic storage device;

              h.     evidence of the times the electronic storage device was used;

              i.     passwords, encryption keys, and other access devices that may be

necessary to access the electronic storage device;

              j.     documentation and manuals that may be necessary to access the

elech·onic storage device or to conduct a forensic examination of the electronic storage

 device;

              k.     contextual information necessary to understand the evidence

described in this attachment.

       During the execution of the search of the premises described in Attachment A,

law enforcement personnel are authorized to press the fingers (including thumbs) of

individuals found at the premises to the Touch ID sensor of Apple brand device(s), such

as an iPhone or iPad, found at the premises for the purpose of attempting to unlock the

device via Touch ID in order to search the contents as authorized by this warrant.
              Case: 3:24-cr-00050-jdp                  Document #: 52-2         Filed: 11/08/24          ANDEREGG-BATES-000172
                                                                                                         Page 10 of 54

AO 106 (Rev. 04/10) Application for a Search Warrant


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                       Western District of Wisconsin
              In the Matter of the Search of
    N6960 Bice Ave, Holmen, Lacrosse                                )
County, Wisconsin; 2018 gray Tesla Model                            )
                                                                    )        Case No. 24-mj-5
   3 with WI registration plate 830-NLZ;
                                                                    )
silver 2017 Subaru Crosstrek SUV with WI                            )                             SEALED
registration plate 178-TNW; the person of                           )
             Steven Anderegg
                                             APPLICATION FOR A SEARCH WARRANT

        I, AUSA Elizabeth Altman, an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following premises:
See Attachment A.

located in the Western District of Wisconsin, there is now concealed:

See Attachment B.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):

          0 evidence of a crime;
          0 contraband, fruits of crime, or other items illegally possessed;
          0 property designed for use, intended for use, or used in committing a crime;
         D a person to be arrested or a person who is unlawfully restrained.

       The search is related to a violation of:
          Code Section                Offense Description
18 U.S.C. § 1466A                     Production, distribution, or possession of explicit material
18 U.S.C. § 1462(a)                   Impmtation or transportation of obscene matter
18 U.S.C. § 1470                      Transferring or attempting to transfer obscene material to a minor
18 U.S.C. § 2252A                     Distribution or possession of child pornography
       The application is based on these facts: See attached Affidavit.

D Delayed notice of Dayinlelayed days (give exact ending date if more than 30 days: Dat~ eliding) is requested under
18 U.S.C. § 3103a, the basis of which is set fotth in the attached affidavit.



                                                                                         Applicant's signature
                                                                                       AUSA Elizabeth Altman

Sworn to before me telephonically on

Date:


        Madison, Wisconsin
                                                                                  3tZr     Judge 's signature
                                                                               Magistrate Judge Stephen L. Crocker
                                                                               Magistrate Judge Andrew R. Wiseman
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                         AFFIDAVIT IN SUPPORT OF
                  AN APPLICATION FOR A SEARCH WARRANT

      I, Ryan Condon, being first duly sworn, hereby depose and state as follows:

                  INTRODUCTION AND AGENT BACKGROUND

       I.    I am a Special Agent with the Wisconsin Department of Justice and have

been since September of 2016. I have received more than 500 hours of training in the

investigation of computer-facilitated exploitation of children, and methods of forensic

analysis of computers used in criminal activity. This training was provided by the

Wisconsin Division of Criminal Investigation (DCI) and the United States Department

of Justice Internet Crimes Against Children (ICAC) Training and Technical Assistance

Program. I have written more than 100 search warrant and subpoena applications over

my law enforcement career.

       2.     I am conducting an investigation of Steven A. Anderegg, who is suspected

of violating Title 18, United States Code, Sections §§1470, 1462(a), 1466A, and 2252A.

The facts contained in this affidavit are known to me through my personal knowledge,

training, and experience, and through information provided to me by other law

enforcement officers, who have provided information to me during the course of their

official duties and whom I consider to be truthful and reliable.

       3.     Based upon the information described below, I submit that probable cause
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                                                                          Page 12 of 54



exists to believe that Steven A. Anderegg has committed the crimes of Transferring or

attempting to transfer obscene material to a minor, in violation of Title 18, United States

Code, Section §1470, Distribution or possession of Child Pornography, in violation of

Title 18, United States Code, Section §2252A, Production, distribution, or possession of

obscene visual representations of the sexual abuse of minors, in violation of Title 18,

United States Code, Section §1466A, Importation or transportation of obscene matter, in

violation of Title 18, United States Code, Section §1462(a), and that evidence relating to

these crimes can be found at N6960 Bice Ave, Holmen, LaCrosse County, Wisconsin

(the SUBJECT PREMISES), in his vehicles, a 2018 gray Tesla Model 3 with Wisconsin

registration plate 830-NLZ and a silver 2017 Subaru Crosstrek SUV with Wisconsin

registration plate 178-TNW, and on his person, all more particularly described in

Attachment A of this affidavit, for the evidence more particularly described in

Attachment B.

       4.     This affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all my knowledge about this

matter.

                              STATUTORY AUTHORITY

       5.     This investigation concerns alleged violations of 18 U.S,C. §§ 1462(a),

1466A, 1470, and 2252A.

              a.     18 U.S.C. § 1462(a) prohibits a person from using any interactive

computer service (as defined in section 230(e)(2) of the Communications Act of 1934),

for carriage in interstate or foreign commerce any obscene, lewd, lascivious, or filthy
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                                                                              Page 13 of 54



book, pamphlet, picture, motion-picture film, paper, letter, writing, print, or other

matter of indecent character;

              b.     18 U.S.C. § 1466A(a) and (b) prohibit a person from knowingly

producing, dish·ibuting, receiving, possessing with intent to distribute, or possessing a

visual depiction of any kind, including a drawing, cartoon, sculpture, or painting, that

depicts a minor engaged in sexually explicit conduct and is obscene or that depicts an

image that is, or appears to be, of a minor engaging in graphic bestiality, sadistic or

masochistic abuse, or sexual intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or opposite sex and lacks

serious literary, artistic, political, or scientific value, or attempting or conspiring to do

so, where: any communication involved in or made in furtherance of the offense is

communicated or transported by the mail, or in interstate or foreign commerce by any

means, including by computer, or any means or instrumentality of interstate or foreign

commerce is otherwise used in committing or in furtherance of the commission of the

offense; any communication involved in or made in furtherance of the offense

contemplates the transmission or transportation of a visual depiction by the mail, or in

interstate or foreign commerce by any means, including by computer; any person

travels or is transported in interstate or foreign commerce in the course of the

commission or in furtherance of the commission of the offense; any visual depiction

involved in the offense has been mailed, or has been shipped or transported in

interstate or foreign commerce by any means, including by computer, or was produced

using materials that have been mailed, or that have been shipped or h·ansported in

interstate or foreign commerce by any means, including by computer; or the offense is
                                               2
  Case: 3:24-cr-00050-jdp       Document #: 52-2        Filed: 11/08/24     ANDEREGG-BATES-000176
                                                                            Page 14 of 54



committed in the special maritime and territorial jurisdiction of the United States or in

any territory or possession of the United States;

              c.     18 U.S.C. § 1470 prohibits a person from using the mail or any

facility or means of interstate or foreign commerce to knowingly h·ansfer obscene

matter to another individual who has not attained the age of 16 years, knowing that

such other individual has not attained the age of 16 years, or attempting to do so;

              d.     18 U.S.C. § 2252A(a)(2) and (b)(l) prohibit a person from

knowingly receiving or distributing any child pornography using any means or facility

of interstate or foreign commerce or that has been mailed, or has been shipped or

transported in or affecting interstate or foreign commerce by any means, including by

computer; or any material that contains child pornography using any means or facility

of interstate or foreign commerce or that has been mailed, or has been shipped or

transported in or affecting interstate or foreign commerce by any means, including by

computer, or attempting or conspiring to do so;

              e.     18 U.S.C. § 2252A(a)(5)(B) and (b)(2) prohibit a person from

knowingly possessing, or knowingly accessing with intent to view, any book, magazine,

periodical, film, videotape, computer disk, or any other material that contains an image

of child pornography that has been mailed, or shipped or transported using any means

or facility of interstate or foreign commerce or in or affecting interstate or foreign

commerce by any means, including by computer, or that was produced using materials

that have been mailed, or shipped or transported in or affecting interstate or foreign

commerce by any means, including by computer, or attempting or conspiring to do so;



                                              3
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              f.     18 U.S.C. § 2256(2)(A) defines "sexually explicit conduct" to mean

actual or simulated: sexual intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or opposite sex; bestiality;

masturbation; sadistic or masochistic abuse; or lascivious exhibit of the anus genitals, or

pubic area of any person;

              g.     18 U.S.C. § 2256(5) defines "visual depiction" to include

undeveloped film and videotape, data stored on computer disk or by electronic means

which is capable of conversion into a visual image, and data which is capable of

conversion into a visual image that has been transmitted by any means, whether or not

stored in a permanent format; and

              h.     18 U.S.C. § 2256(8) defines "child pornography" to mean any visual

 depiction, including any photograph, film, video, picture, or computer or computer-

 generated image or picture, whether made or produced by electronic, mechanical, or

 other means, of sexually explicit conduct, where the production of such visual

 depiction involves the use of a minor engaging in sexually explicit conduct; such visual

 depiction is a digital image, computer image, or computer-generated image that is, or

 is indistinguishable from, that of a minor engaging in sexually explicit conduct; or such

 visual depiction has been created, adapted, or modified to appear that an identifiable

 minor is engaging in sexually explicit conduct.

                                      DEFINITIONS

       6.     The following definitions apply to the Affidavit and Attachment B to this

Affidavit:

               a.    "Cellular telephone" or "cell phone" means a handheld wireless
                                              4
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device used for voice and data communication through radio signals. These telephones

send signals through networks of transmitter/receivers, enabling communication with

other wireless telephones or traditional "land line" telephones. A wireless telephone

usually contains a "call log," which records the telephone number, date, and time of

calls made to and from the phone. In addition to enabling voice communications,

wireless telephones offer a broad range of capabilities. These capabilities include

storing names and phone numbers in electronic "address books"; sending, receiving,

and storing text messages and e-mail; taking, sending, receiving, and storing still

photographs and moving video; storing and playing back audio files; storing dates,

appointments, and other information on personal calendars; and accessing and

downloading information from the Internet. Wireless telephones may include

geolocation information indicating where the cell phone was at particular times.

              b.     "Chat" refers to any kind of communication over the Internet that

offers a real-time transmission of text messages from sender to receiver. Chat messages

are generally short in order to enable other participants to respond quickly and in a

format that resembles an oral conversation. This feature distinguishes chatting from

other text-based online communications such as Internet forums and email.

              c.     "Child Erotica" means materials or items that are sexually arousing

to persons having a sexual interest in minors but that are not, in and of themselves,

legally obscene or that do not necessarily depict minors in sexually explicit conduct.

              d.     "Child Pornography" is defined in 18 U.S.C. § 2256(8) as any visual

depiction of sexually explicit conduct where (a) the production of the visual depiction

involved the use of a minor engaged in sexually explicit conduct, (b) the visual
                                             5
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depiction is a digital image, computer image, or computer-generated image that is, or is

indistinguishable from, that of a minor engaged in sexually explicit conduct, or (c) the

visual depiction has been created, adapted, or modified to appear that an identifiable

minor is engaged in sexually explicit conduct.

              e.     "Computer" is defined pursuant to 18 U.S.C. § 1030(e)(l) as" an

electronic, magnetic, optical, electrochemical, or other high speed data processing

device performing logical or storage functions, and includes any data storage facility or

communications facility directly related to or operating in conjunction with such

device."

              f.     "Computer Server" or "Server," is a computer that is attached to a

dedicated network and serves many users. A web server, for example, is a computer

which hosts the data associated with a website. That web server receives requests from

a user and delivers information from the server to the user's computer via the Internet.

A domain name system (DNS) server, in essence, is a computer on the Internet that

routes communications when a user types a domain name, such as www.cnn.com, into

his or her web browser. Essentially, the domain name must be translated into an

Internet Protocol (IP) address so the computer hosting the web site may be located, and

the DNS server provides this function.

              g.     "Computer hardware" means all equipment which can receive,

capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic,

magnetic, or similar computer impulses or data. Computer hardware includes any

data-processing devices (including, but not limited to, central processing units, internal

and peripheral storage devices such as fixed disks, external hard drives, and other
                                              6
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memory storage devices); peripheral input/ output devices (including, but not limited

to, keyboards, printers, video display monitors, and related communications devices

such as cables and connections), as well as any devices, mechanisms, or parts that can

be used to restrict access to computer hardware (including, but not limited to, physical

keys and locks).

                 h.   "Computer software" is digital information which can be

interpreted by a computer and any of its related components to direct the way they

work. Computer software is stored in electronic, magnetic, or other digital form. It

commonly includes programs to run operating systems, applications, and utilities.

                 i.   "Computer-related documentation" consists of written, recorded,

printed, or electronically stored material which explains or illustrates how to configure

or use computer hardware, computer software, or other related items.

                 j.   "Computer passwords, pass phrases and data security devices"

consist of information or items designed to restrict access to or hide computer software,

documentation, or data. Data security devices may consist of hardware, software, or

other programming code. A password or pass phrase (a string of alpha-numeric

characters) usually operates as a sort of digital key to "unlock" particular data security

devices. Data security hardware may include encryption devices, chips, and circuit

boards. Data security software of digital code may include programming code that

creates "test" keys or "hot" keys, which perform certain pre-set security functions when

touched. Data security software or code may also encrypt, compress, hide, or "booby-

trap" protected data to make it inaccessible or unusable, as well as reverse the progress

to restore it.
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               k.   "Electronic storage devices" includes computers, cellular

telephones, tablets, and devices designed specifically to store electronic information

(e.g., external hard drives and USB "thumb drives"). Many of these devices also permit

users to communicate electronic information through the internet or through the

cellular telephone network (e.g., computers, cellular telephones, and tablet devices such

as an iPad).

               I.    "File Transfer Protocol" (FTP) is a standard network protocol used

to transfer computer files from one host to another over a computer network, such as

the Internet. FTP is built on client-server architecture and uses separate control and

data connections between the client and the server.

               m.    "Host Name" is a name assigned to a device connected to a

computer network that is used to identify the device in various forms of electronic

communication, such as communications over the Internet;

               n.    "Hyper link" refers to an item on a web page which, when selected,

transfers the user directly to another location in a hypertext document or to some other

web page.

               o.    The "Internet" is a global network of computers and other

electronic devices that communicate with each other. Due to the structure of the

Internet, connections between devices on the Internet often cross state and international

borders, even when the devices communicating with each other are in the same state.

               p.    "Internet Service Providers" (ISPs) are commercial organizations

that are in business to provide individuals and businesses access to the Internet. ISPs

provide a range of functions for their customers including access to the Internet, web
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hosting, e-mail, remote storage, and co-location of computers and other

communications equipment. ISPs can offer a range of options in providing access to the

Internet including telephone-based dial-up, broadband based access via digital

subscriber line (DSL) or cable television, dedicated circuits, or satellite-based

subscription. ISPs typically charge a fee based upon the type of connection and volume

of data, called bandwidth, which the connection supports. Many ISPs assign each

subscriber an account name - a username or screen name, an "e-mail address," an e-

mail mailbox, and a personal password selected by the subscriber. By using a computer

equipped with a modem, the subscriber can establish communication with an Internet

Service Provider (ISP) over a telephone line, through a cable system or via satellite, and

can access the Internet by using his or her account name and personal password.

              q.     "An Internet Protocol address" (IP address) is a unique numeric

address used by internet-enabled electronic storage devices to access the Internet. An

IP address is a series of four numbers, each in the range 0-255, separated by periods

(e.g., 121.56.97.178). Every electronic storage device attached to the Internet must be

assigned an IP address so that Internet traffic sent from and directed to that electronic

storage device may be directed properly from its source to its destination. Most

Internet service providers control a range of IP addresses. Some computers have

static-that is, long-term-IP addresses, while other computers have dynamic-that is,

frequently changed-IP addresses.

              r.      "Hash Value" refers to the process of using a mathematical

function, often called an algorithm, to generate a numerical identifier for data. A hash

value can be thought of as a" digital fingerprint" for data. If the data is changed, even
                                              9
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very slightly (like the addition or deletion of a comma or a period), the hash value

changes. Therefore, if a file such as a digital photo is a hash value match to a known

file, it means that the digital photo is an exact copy of the known file.

              s.     "Media Access Control" (MAC) address means a hardware

identification number that uniquely identifies each device on a network. The

equipment that connects a computer to a network is commonly referred to as a network

adapter. Most network adapters have a MAC address assigned by the manufacturer of

the adapter that is designed to be a unique identifying number. A unique MAC address

allows for proper routing of communications on a network. Because the MAC address

does not change and is intended to be unique, a MAC address can allow law

enforcement to identify whether communications sent or received at different times are

associated with the same adapter.

              t.     "Minor" means any person under the age of eighteen years. See 18

u.s.c. § 2256(1).
              u.     The terms "records," "documents," and "materials" include all

information recorded in any form, visual or aural, and by any means, whether in

handmade form (including writings and drawings), photographic form (including

prints, negatives, videotapes, motion pictures, and photocopies), mechanical form

(including printing and typing) or electrical, electronic or magnetic form (including tape

recordings, compact discs, electronic or magnetic storage devices such as hard disks,

CD-ROMs, digital video disks (DVDs), Personal Digital Assistants (PDAs), Multi Media

Cards (MMCs), memory sticks, sm11rt rnrds, or electronic notebooks, as well as digital

data files and printouts or readouts from any magnetic, electrical or electronic storage
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device).

              v.     "Secure Shell" (SSH) is a security protocol for logging into a remote

server. SSH provides an encrypted session for transferring files and executing server

programs.

              w.     "Sexually explicit conduct" means actual or simulated (a) sexual

intercourse, including genital-genital, oral-genital, or oral-anal, whether between

persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or

masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any

person. See 18 U.S.C. § 2256(2).

              x.     "URL" is an abbreviation for Uniform Resource Locator and is

another name for a web address. UR Ls are made of letters, numbers, and other

symbols in a standard form. People use them on computers by clicking a pre-prepared

link or typing or copying and pasting one into a web browser to make the computer

fetch and show some specific resource (usually a web page) from another computer

(web server) on the Internet.

              y.     "Visual depictions" include undeveloped film and videotape, and

data stored on computer disk or by electronic means, which is capable of conversion

into a visual image. See 18 U.S.C. § 2256(5).

              z.     "Website" consists of textual pages of information and associated

graphic images. The textual information is stored in a specific format known as Hyper-

Text Mark-up Language (HTML) and is transmitted from web servers to various web

clients via Hyper-Text Transport Protocol (HTTP).



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            ELECTRONIC STORAGE DEVICES AND FORENSIC ANALYSIS

      7.      I have consulted in this matter with lay persons and law enforcement

officers with specialized knowledge and training in computers, networks, and Internet

communications. I have consulted with Digital Forensic Examiner Ryan Rickaby, who

received specialized training as a forensic computer, cellular telephone, and other

electronic storage device examiner. DFE Rickaby has been a forensic computer

examiner with the WI DOJ since 2022. DFE Rickaby has participated in the execution of

numerous search warrants and search and seizure operations. DFE Rickaby has

informed me that to properly retrieve and analyze electronically stored (computer)

data, and to ensure accuracy and completeness of such data and to prevent loss of the

data either from accidental or programmed destruction, it is necessary to conduct a

forensic examination of the electronic storage devices. To effect such accuracy and

completeness, it may also be necessary to analyze not on1y the electronic storage

devices, but also peripheral devices which may be interdependent, the software to

operate them, and related insn·uction manuals containing directions concerning

operation of the device computer and software. As described above and in Attachment

B, this application seeks permission to search and seize records that might be found on

the proposed search location, in whatever form they are found. One form in which the

records might be found is stored on a computer's hard drive, other storage media,

within a hand-held electronic device such as a cellular telephone or a tablet device (e.g.,

an iPad device). Some of this electronic information, as explained below, might take a

form that becomes meaningful only upon forensic analysis.

       8.      Based on my knowledge, I know that computer and other electronic
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device hardware, peripheral devices, software, documentation, and passwords may be

important to a criminal investigation in three distinct and important respects.

              a.     The objects themselves may be instrumentalities used to commit

the crime;

              b.     the objects may have been used to collect and store information

about crimes (in the form of electronic data); and

              c.     the objects may be contraband or fruits of the crime.

       9.     I submit that if a computer or other electronic storage device is found on

 the premises, there is probable cause to believe those records will be stored in that

 electronic storage device, for at least the following reasons:

              a.     Based on my knowledge, training, and experience, I know that

electronic storage device files or remnants of such files can be recovered months or even

years after they have been downloaded onto a storage medium, deleted, or viewed via

the Internet. Electronic files downloaded to a storage medium can be stored for years at

little or no cost. Even when files have been deleted, they can be recovered months or

years later using forensic tools. This is so because when a person " deletes a file on an

electronic storage device, the data contained in the file does not actually disappear;

rather, that data remains on the storage medium until it is overwritten by new data. It

follows that deleted files, or remnants of deleted files, may reside in free space or slack

space-that is, in space on the storage medium that is not currently being used by an

active file-for long periods of time before they are overwritten. In addition, if the

electronic storage device uses an operating system (in tl1e case, for example, of a

computer, cellular telephone or tablet device) the device may also contain a record of
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deleted data in a swap or a recovery file.

               b.    Wholly apart from user-generated files, electronic storage device

storage media in particular, computers' internal hard drives contain electronic evidence

of how the device was used, what it has been used for, and who has used it. This

evidence can take the form of operating system configurations, artifacts from operating

system or application operation, and file system data structures. Electronic storage

device users typically do not erase or delete this evidence, because special software is

typically required for that task. However, it is technically possible to delete this

information.

               c.    Files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary internet directory or cache. The browser

often maintains a fixed amount of hard drive space devoted to these files, and the files

are oniy overwritten as they are replaced with more recently viewed Internet pages or if

a user takes steps to delete them.

               d.    Based on actual inspection of other evidence related to this

investigation, personal photos shared by victims during trips, documents, financial

records, I am aware that electronic storage device equipment was used to generate,

store, and print documents used in this case. Thus, there is reason to believe that there

is an electronic storage device system currently located at the proposed search location.

       10.     As further described in Attachment B, this application seeks permission to

 locate not only electronic storage device files that might serve as direct evidence of the

 crimes described on the warrant, but also for evidence tlmt establishes how elech·onic

 storage devices were used, the purpose of their use, who used them, and when.
                                             14
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      11.    Although some of the records called for by this warrant might be found in

the form of user-generated documents (such as word processor, picture, and movie

files), electronic storage device storage media can contain other forms of electronic

evidence as described below:

             a.     Data on the storage medium not currently associated with any file

can provide evidence of a file that was once on the storage medium but has since been

deleted or edited, or of a deleted portion of a file (such as a paragraph that has been

deleted from a word processing file). Web browsers, e-mail programs, and chat

programs store configuration information on the storage medium that can reveal

information such as online nicknames and passwords. Operating systems can record

additional information, such as the attachment of peripherals, the attachment of USB

flash storage devices or other external storage media, and the times the electronic

storage device was in use. Electronic storage device file systems can record

information about the dates files were created and the sequence in which they were

created.

             b.     As explained herein, information stored within an electronic

storage device and other electronic storage media may provide crucial evidence of the

"who, what, why, when, where, and how" of the criminal conduct under investigation,

thus enabling the United States to establish and prove each element or alternatively, to

exclude the innocent from further suspicion. In my training and experience,

information stored within an electronic storage device (e.g., registry information,

communications, images and movies, h·ansactional information, records of session

times and durations, internet history, and anti-virus, spyware, and malware detection
                                            15
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programs) can indicate who has used or controlled the electronic storage device. This

"user attribution" evidence is analogous to the search for "indicia of occupancy" while

executing a search warrant at a residence. The existence or absence of anti-virus,

spyware, and malware detection programs may indicate whether the electronic storage

device was remotely accessed, thus inculpating or exculpating the electronic storage

device owner. Further, elech·onic storage device activity can indicate how and when

the electronic storage device was accessed or used. For example, as described herein,

computers typically contain information that logs: computer user account session times

and durations, computer activity associated with user accounts, electronic storage

media that connected with the computer, and the IP addresses through which the

computer accessed networks and the internet. Such information allows investigators

to understand the chronological context of computer or electronic storage media

access, use, and events relating to the crime under investigation. Additionally, some

information stored within an electronic storage device may provide crucial evidence

relating to the physical location of other evidence and the suspect. For example,

images stored on a computer or cellular telephone may both show a particular location

and have geolocation information incorporated into its file data. Such file data

typically also contains information indicating when the file or image was created. The

existence of such image files, along with external device connection logs, may also

indicate the presence of additional elech·onic storage media (e.g., a digital camera).

The geographic and timeline information described herein may either inculpate or

exculpate the elech·onic storage device user. Last, information stored within an

electronic storage device may provide relevant insight into the device user's state of
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mind as it relates to the offense under investigation. For example, information within

the electronic storage device may indicate the owner's motive and intent to commit a

crime (e.g., internet searches indicating criminal planning), or consciousness of guilt

(e.g., running a "wiping" program to destroy evidence on the electronic storage device

or password protecting/ encrypting such evidence in an effort to conceal it from law

enforcement).

             c.     The process of identifying the exact files, blocks, registry entries,

logs, or other forms of forensic evidence on a storage medium that are necessary to

draw an accurate conclusion is a dynamic process. Whether data stored on an

electronic storage device is relevant to the investigation may depend on other

information stored on the electronic storage device and the application of knowledge

about how an electronic storage device works. Therefore, contextual information

necessary to understand the evidence described in Attachment B also falls within the

scope of the warrant.

             d.     Further, in finding evidence of how an electronic storage device

was used, the purpose of its use, who used it, and when, sometimes it is necessary to

establish that a particular thing is not present on a storage medium. For example, I

know from training and experience that it is possible that malicious software can be

installed on a computer, often without the computer user's knowledge, that can allow

the computer to be used by others, sometimes without the knowledge of the computer

owner.




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       12.    The warrant I am applying for would permit law enforcement to compel

certain individuals to unlock a device subject to seizure pursuant to this warrant using

the device's biometric features. I seek this authority based on the following:

       13.    I know from my training and experience, as well as from information

found in publicly available materials published by device manufacturers, that many

electronic devices, particularly newer mobile devices and laptops, offer their users the

ability to unlock the device through biometric features in lieu of a numeric or

alphanumeric passcode or password. These biometric features include fingerprint

scanners, facial recognition features, and iris recognition features. Some devices offer a

combination of these biometric features, and the user of such devices can select which

features they would like to utilize.

       14.    If a device is equipped with a fingerprint scanner, a user may enable the

ability to unlock the device through his or her fingerprints. For example, Apple offers a

feature called "Touch ID," which allows a user to register up to five fingerprints that

can unlock a device. Once a fingerprint is registered, a user can unlock the device by

pressing the relevant finger to the device's Touch ID sensor, which is found in the

round button (often referred to as the "home" button) located at the bottom center of

the front of the device. The fingerprint sensors found on devices produced by other

manufacturers have different names but operate similarly to Touch ID.

       15.    If a device is equipped with a facial recognition feature, a user may enable

the ability to unlock the device through his or her face. For example, Samsung allows

users to use Face recognition to unlock mobile phones and other devices. During the

Face recognition registration process, the user holds the device in front of his or her
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face. The device's front-facing camera then analyzes and records data based on the

user's facial characteristics. The device can then be unlocked if the front-facing camera

detects a face with characteristics that match those of the registered face. Facial

recognition features found on devices produced by other manufacturers have different

names but operate similarly to Face recognition on Samsung devices.

       16.    If a device is equipped with an iris recognition feature, a user may enable

the ability to unlock the device with his or her irises. For example, on certain Microsoft

devices, this feature is called "Windows Hello." During the Windows Hello

registration, a user registers his or her irises by holding the device in front of his or her

face. The device then directs an infrared light toward the user's face and activates an

infrared-sensitive camera to record data based on patterns within the user's irises. The

device can then be unlocked if the infrared-sensitive camera detects the registered irises.

Iris recognition features found on devices produced by other manufacturers have

different.names but operate similarly to Windows Hello.

       17.    In my training and experience, users of electronic devices often enable the

aforementioned biometric features because they are considered to be a more convenient

way to unlock a device than by entering a numeric or alphanumeric passcode or

password. Moreover, in some instances, biometric features are considered to be a more

secure way to protect a device's contents. This is particularly true when the users of a

device are engaged in criminal activities and thus have a heightened concern about

securing the contents of a device.

       18.     As discussed in this affidavit, based on my trnining and experience I

believe that one or more digital devices will be found during the search. The passcode
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or password that would unlock the device(s) subject to search under this warrant is not

known to law enforcement. Thus, law enforcement personnel may not otherwise be able

to access the data contained within the device(s), making the use of biometric features

necessary to the execution of the search authorized by this warrant.

       19.    I also know from my training and experience, as well as from information

found in publicly available materials including those published by device

manufacturers, that biometric features will not unlock a device in some circumstances

even if such features are enabled. This can occur when a device has been restarted,

inactive, or has not been unlocked for a certain period of time. For example, Apple

devices cannot be unlocked using Touch ID when (1) more than 48 hours has elapsed

since the device was last unlocked or (2) when the device has not been unlocked using a

fingerprint for 8 hours and the passcode or password has not been entered in the last 6

days. Biometric features from other brands carry similar restrictions. Thus, in the event

law enforcement personnel encounter a locked device equipped with biometric

features, the opportunity to unlock the device through a biomeh·ic feature may exist for

only a short time.

       20.    In my h·aining and experience, the person who is in possession of a device

or has the device among his or her belongings at the time the device is found is likely a

user of the device. However, in my training and experience, that person may not be the

only user of the device whose physical characteristics are among those that will unlock

the device via biometric features, and it is also possible that the person in whose

possession the device is found is not achtally a user of that device at all. Furthermore, in

my training and experience, I know that in some cases it may not be possible to know
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with certainty who is the user of a given device, such as if the device is found in a

common area of a premises without any identifying information on the exterior of the

device. Thus, it will likely be necessary for law enforcement to have the ability to

require any individual, who is found at the Subject Premises and reasonably believed

by law enforcement to be a user of the device, to unlock the device using biometric

features in the same manner as discussed above.

       21.    Due to the foregoing, if law enforcement personnel encounter a device

that is subject to seizure pursuant to this warrant and may be unlocked using one of the

aforementioned biometric features, the warrant I am applying for would permit law

enforcement personnel to (1) press or swipe the fingers (including thumbs) of any

individual, who is found at the subject premises and reasonably believed by law

enforcement to be a user of the device(s), to the fingerprint scanner of the device(s)

found at the premises; (2) hold the device(s) found at the premises in front of the face to

those same individuals and activate the facial recognition feature; and/ or (3) hold the

device(s) found at the premises in front of the face of those same individuals and

activate the iris recognition feature, for the purpose of attempting to unlock the

device(s) in order to search the contents as authorized by this warrant.

     CHARACTERISTICS COMMON TO INDIVIDUALS WHO ADVERTISE,
  DISTRIBUTE, OR POSSESS VISUAL DEPICTIONS OF MINORS ENGAGED IN
                    SEXUALLY EXPLICIT CONDUCT

       22.    Based on my previous investigative experience related to child

exploitation investigations, and the training and experience of other law enforcement

officers with whom I have had discussions, I know there are certain characteristics



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common to individuals who utilize the internet to advertise, distribute, or possess

visual depictions of minors engaged in sexually explicit conduct:

              a.     Such individuals may receive sexual gratification, stimulation, and

satisfaction from contact with children, or from fantasies they may have viewing

children engaged in sexual activity or in sexually suggestive poses, such as in person, in

photographs, or other visual media, or from literature describing such activity.

              b.     Such individuals may collect sexually explicit or suggestive

materials in a variety of media, including images, videos, or other visual media.

Individuals who have a sexual interest in children or images of children oftentimes use

these materials for their own sexual arousal and gratification. Further, they may use

these materials to lower the inhibitions of children they are attempting to seduce, to

arouse the selected child partner, or to demonstrate the desired sexual acts.

              c.     Such individuals almost always possess and maintain copies of

material depicting minors engaged in sexually explicit conduct in the privacy and

security of their home or some other secure location. Individuals who have a sexual

interest in children or images of children typically retain such visual depictions for

many years.

              d.     Likewise, such individuals often maintain their images of minors

engaged in sexually explicit conduct in a digital or electronic format in a safe, secure

and private environment, such as a computer and surrounding area. These images are

often maintained for several years and are kept close by, usually at the possessor's

residence, inside the possessor's vehicle, or, at times, on their person, or in cloud-based

online storage, to enable the individual to view these images, which are valued highly.
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Some of these individuals also have been found to download, view, and then delete

visual depictions of minors engaged in sexually explicit conduct on their computers or

digital devices on a cyclical and repetitive basis.

              e.     Importantly, evidence of such activity, including deleted material,

often can be located on these individuals' computers and digital devices through the

use of forensic tools. Indeed, the very nature of electronic storage means that evidence

of the crime is often still discoverable for extended periods of time even after the

individual" deleted" it.

              f.     Such individuals also may correspond with and/ or meet others to

share information and materials, rarely destroy correspondence from other

distributors/ possessors of such material, conceal such correspondence as they do their

sexually explicit material, and often maintain lists of contact information for individuals

with whom they have been in contact and who share the same interests in visual

depictions of minors engaging in sexually explicit conduct.

              g.      Such individuals prefer not to be without their visual depictions of

minors engaged in sexually explicit conduct for any prolonged time period. This

behavior has been documented by law enforcement officers involved in the

investigation of CSAM throughout the world.

               h.     I submit that probable cause exists to believe that a resident of the

SUBJECT PREMISES described in Attachment A-Steven A. Anderegg-is the user of

the Instagram accounts described below, and that this individual has a demonstrated

sexual interest in minors. Specifically, as further described below, there is probable

cause to believe that Anderegg is producing, distributing, and possessing obscene
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visual depictions of minors engaging in sexually explicit conduct; sending such obscene

visual depictions to minors; and has previously downloaded visual depictions of

minors engaged in sexually explicit conduct over an online peer-to-peer network.

Accordingly, there is probable cause to believe that a resident of the SUBJECT

PREMISES likely displays characteristics common to individuals who produce,

advertise, distribute, and possess visual depictions of minors engaged in sexually

explicit conduct.

               BACKGROUND ON THE NATIONAL CENTER FOR
             MISSING AND EXPLOITED CHILDREN'S CYBERTIPLINE

       23.    Based on my training and experience, and publicly available information,

I know that the National Center for Missing and Exploited Children (NCMEC) is a

nonprofit, nongovernmental organization in Alexandria, Virginia, that works with law

enforcement on issues related to missing and sexually exploited children. One of the

services provided and administered by NCMEC is its CyberTipline, which serves as the

national clearinghouse for leads regarding sexual exploitation crimes against children.

       24.    In addition to reports from the general public, reports are made by U.S.

electronic service providers, which are required by U.S. federal law to report" apparent

child pornography" to NCMEC via the CyberTipline (18 U.S.C. § 2258A) if they become

aware of the content on their servers. Leads are reviewed by specially trained analysts,

who examine and evaluate the reported content, add related information that may be

useful to law enforcement, use publicly available search tools to determine the

geographic location of the apparent criminal act, and ultimately provide all of the




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gathered information to the appropriate law enforcement agency for review and

possible investigation.

       25.    The CyberTipline receives reports, known as CyberTipline reports, on the

following type of criminal conduct: possessing, manufacturing, and distributing child

pornography; online enticement of children for sexual acts; child prostitution; sex

tourism involving children; child sexual molestation; unsolicited obscene material sent

to a child; misleading domain names; and misleading words or digital images on the

Internet.

       26.    The CyberTipline reports will vary in detail depending on the nature of

the report, and which entity submits it. The reports can include information (1) relating

to the identity of any individual who appears to have violated federal law by

committing or attempting to commit the criminal conduct described above; (2) historical

information on when or how a customer or subscriber of an electronic service provider

uploaded, transmitted, or received apparent child pornography; (3) geographical

information on the involved individual or website, which may include the Internet

Protocol (IP) Address or verified billing address or geographic identifying information,

including area code or zip code; (4) any images of apparent child pornography; and (5)

the complete communication containing any image of apparent child pornography. See

18 U.S.C. § 2258A(b).

                                  PROBABLE CAUSE

       27.    On Wednesday, November 8, 2023, I reviewed two CyberTipline reports

received by NCMEC. The two reports were filed by Meta Platforms, which owns

Instagram and Facebook, on October 12, 2023 (CyberTipline Report 176167714) and
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October 18, 2023, CST (CyberTipline Report 176484452). Meta Platforms reported that

on or about October 8, 2023, one of the accounts (ACCOUNT 1) distributed what

appears to be Artificial Intelligence (AI) images depicting child sexual abuse material

(CSAM) through an Instagram direct message to an account belonging to a juvenile. 1

       28.     According to the information provided by Meta in CyberTipline report

176484452, the account details for ACCOUNT 1 are as follows:

       Instagram Full Name: Dom
       Instagram Username: dhyanax4dxm
       Instagram UID: 60857847038
       DOB: June 19 2000
       Age: 23
       Gender: Male
       Associated E-Mail Address: None
       Associated Phone Number: None

       29.     Meta also reported that ACCOUNT 1 had already posted numerous

apparent AI images of minimally clothed minor boys or minor boys in bondage attire in

August and September 2023, and that the user of ACCOUNT 1 follows another

Instagram user whose biography states " ..... great to meet on telegram and talk about

young boy addiction!!"

       30.     According to information provided by Meta, the recipient of the

apparently AI-generated CSAM was a 16-year-old boy (Minor A). 2




1 Artificial intelligence (AI) is the ability of a digital computer or computer-controlled robot to
perform tasks commonly associated with intelligent beings. The term is frequently applied to
the project of developing systems endowed witl1 the intellectual processes characteristic of
humans, such as the ability to reason, discover meaning, generalize, or learn from past
experience.

2 As noted below, law enforcement determined he was actually 15 years old,


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       31.     Meta also provided an excerpt of the Instagram conversation in which

ACCOUNT 1 distributed the apparent AI images to the juvenile. The details of the chat

are as follows:

 Username          Date/Time                                 Message
 Minor A           09/26/23 2:46 p.m. PDT                    Hev
 dhyanax4dxm (IGID 09/26/23 5:59 p.m. PDT                    Hey
 60857847038)
 Minor A           09/27/23 4:38 p.m. PDT                    How arevou?
 dhyanax4dxm(IGID 09/27/23 7:51 p.m. PDT                     Ok I guess?
 60857847038)
 Minor A           09/28/2023 4:25 a.m. PDT                  How old are vou?
 Dhyanax4dxm (IGID 09/28/2023 9:05a.m. PDT                   Slightly old, why?
 60857847038)
 Dhyanax4dxm (IGID 09/28/2023 9:05 a.m. PDT                  Who are you?
 60857847038)
 Minor A           09/28/20231:14 p.m. PDT                   I was just wondering, my name
                                                             is [Minor A]
 dhyanax4dxm(IGID           09/28/20231:14 p.m. PDT          Hi [Minor A]
 60857847038)
 Minor A                    09/28/20231:15 p.m. PDT          Hey Dom
 dhyanax4dxm(IGID           09/28/20231:15 p.m. PDT          So what's up?
 60857847038)
 Minor A                    09/28/20231:16 p.m. PDT          Nothing much, I was just
                                                             wondering like who you were
                                                             and how you got those kinds of
                                                             pictures
 dhyanax4dxm (IGID          09/28/20231:17p.m. PDT           Im no one in particular all the
 60857847038)                                                images I post are mv creations
 Minor A                    09/28/20231:17 p.m. PDT          Like you make them? Or are
                                                             thev AI generated
 dhyanax4dxm(IGID           09/28/20231:20 p.m. PDT          Yes, they are made with stable
 60857847038)                                                diffusion. 3 I create them in so far


3 Based on my training, experience, and discussion with other law enforcement agents and

personnel involved with similar investigations, I am aware that Stable Diffusion refers to an AI
product or model that allows users to generate detailed images based on user-inputted textual
descriptions or prompts. User prompts can include multiple sentences and can provide
detailed instructions on the subject, content, setting, level of realism, and references that a user
wishes to see in a generated image. Users can also utilize Stable Diffusion to alter an existing
image based on similar user-inputted textual descriptions or prompts. The code for Stable
Diffusion is open sourced, which generally means that users can use and modify the product
without any restrictions.
                                                 27
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                                                as I craft the prompts and
                                                control parameters of the ai nets
Minor A              09/28/20231:21 o.m. PDT    Ohhokay
dhyanax4dxm (IGID    09/28/20231:23 p.m. PDT    Don't hesitate to ask anything
60857847038)                                    else, I'm kinda bored at the
                                                moment been a long day so far
Minor A              09/28/20231:26 p.m. PDT    That's fair, I just got home from
                                                school about half an hour ago
dhyanax4dxm(IGID     09/28/20231:44 p.m. PDT    So, what you up to now?
60857847038\
Minor A              09/28/2023 2:15 o.m. PDT   Just kinda hanging out
Minor A              10/04/2023 7:46 o.m. PDT   How often do you post?
Dhyanax4dxm (IGID    10/04/2023 8:1 p.m. PDT    Varies a lot, haven't posted a
60857847038)                                    while since telegram for banned
                                                and several of my posts were
                                                fla<Y<Yed
Minor A              10/04/2023 8:31 o.m. PDT   Ohhokay
Minor A              10/04/2023 8:31 p.m. PDT   Stable Diffusion can make up a
                                                lot of those kinds of pictures and
                                                stuff too
Minor A              10/04/2023 8:32 o.m. PDT   It's on pc
dhyanax4dxm (IGID    10/04/2023 8:40 p.m. PDT   I know, that's what I use to
60857847038\                                    l!"enerate these images
Minor A              10/04/2023 8:41 o.m. PDT   Ohh that makes sense
dhyanax4dxm (IGID    10/04/2023 8:44 p.m. PDT   So how old are you? Forgot to
60857847038)                                    ask after you asked me
dhyanax4dxm (IGID    10/04/2023 8:54 p.m. PDT   Let me know if you have any
60857847038)                                    special requests. Im bored and
                                                looking for inspiration so you
                                                mi2"ht get a custom set
Minor A           10/05/2023 4:47 a.m. PDT      I'm 15
Minor A           10/05/2023 4:48 a.m. PDT      Bovs in the woods?
Dhyanax4dxm (IGID 10/05/2023 6:23 a.m. PDT      What are the boys in the woods
60857847038)                                    doing?
Minor A           10/05/2023 6:25 a.m. PDT      Idk talking, hanging out, playing
dhyanax4dxm (IGID 10/05/2023 6:53 a.m. PDT      What age boys?
60857847038)
Minor A           10/05/202311:46 a.m. PDT Pre teen so 12ish
Minor A           10/05/2023 7:02 o.m. PDT What are they wearing?
Dhyanax4dxm (IGID 10/05/2023 8:16 p.m. PDT ♦
60857847038)
dhyanax4dxm (IGID 10/05/2023 8:16 p.m. PDT ♦
60857847038)
Minor A            10/06/2023 4:25 a.m. PDT Okay

                                     28
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dhyanax4dxm (IGID           10/06/202311:20 a.m.             Sorry bro, life got busy for me,
60857847038)                PDT                              got a couple cooking up for you
                                                             now
Minor A                     10/06/202311:45 a.m.             You're good
                            PDT

...
[ ]

dhyanax4dxm (IGID 10/06/202312:35 p.m.                       Funny if you view in order you
60857847038)      PDT                                        see me playing with different
                                                             models, prompts, settings
 Minor A           10/06/202312:43 p.m.                      Cool!
                   PDT
 Minor A           10/06/202312:44 p.m.                      Yeah that's dope
                   PDT
 dhyanax4dxm (IGID 10/07/2023 7:36 p.m. PDT                  Few more for ya
 60857847038)
 dhyanax4dxm (IGID 10/07/2023 7:36 p.m. PDT                  This content showing apparant
 60857847038)                                                CSAM has been reported to
                                                             NCMEC and received the
                                                             following cvbertip: 176167714
 Minor A                     10/07/2023 8:28 p.m. PDT        Predate it
 Minor A                     10/09/2023 9:45 a.m. PDT        The 3 to last one is mv favorite

          32.    As shown in the excerpt above, at approximately 7:36 p.m. PDT on

October 7, 2023, ACCOUNT 1 distributed content flagged by NCMEC as "apparent

CSAM," which was reported to NCMEC by Meta Platforms and documented in

CyberTipline report 176167714. I have reviewed that report as well. It contains, among

other things, two images that ACCOUNT 1 sent in the above Instagram direct-message

conversation. According to CyberTipline report 176167714, the images were viewed by

Instagram prior to their submission to NCMEC, and they depict the following:

          7F AN2cLkeMP2xxPn387320722_806770904522930_6064114663473091139_o. jpg
          This image depicted what appeared to be a prepubescent juvenile male kneeling on a blue
          blanket in a wooded area. The male was partially clothed, only wearing a baseball cap and
          white underwear. The male had his erect penis exposed through the opening in his
          underwear. In the background of the image were other clothed, pre or young pubescent
          children. The male was posed in a manner that made his erect penis the focal point of the
          image. This image appears to be computer-generated content.
                                                 29
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      mCzQ7MseP4li6GPt384857462_616757293728570_2765743605773120 647_o.jpg
      This image depicted what appeared to be a different prepubescent juvenile male kneeling
      on a blue blanket in a wooded area leaning back on his hands with his legs spread far
      apart exposing his erect penis. The male had a blue cloth draped across his stomach, but
      other than that, was completely nude. There was a partially clothed juvenile female with
      brown hair kneeling to the left of the male looking over his shoulder at him. 17ie male in
      this image was posed in a manner that made his penis the focal point of the image. This
      image appears to be computer-generated content.

      33.    According to Instagram, those two images were uploaded on October 7,

2023, at 9:36 p.m. CST and 9:35 p.m. CST, respectively, by ACCOUNT 1, utilizing IP

address 147.219.156.74. Instagram also advised that there was a login to ACCOUNT 1

utilizing that same IP address on October 1, 2023, at 9:08 p.m. CST.

       34.    Law enforcement determined that this IP address resolved to Charter

Communications. On October 20, 2023, as part of this investigation, WI DOJ-DCI

Program Policy Analyst (PPA) Jessica Cattaneo requested an Administrative Subpoena

be issued to Charter Communications regarding records related to the following IP

address:

       147.219.156.74 on 10/02/2023 at 9:08 p.m. CST

       147.219.156.74 on 10/08/2023 at 9:36 p.m. CST

       147.219.156.74 on 10/08/2023 at 9:36 p.m. CST

       35.    On October 30, 2023, Charter provided the requested records, which

indicated that at those dates and times, IP address 147.219.156.74 was assigned to a

Charter customer with the following subscriber information:

       STEVE ANDEREGG
       N6960 BICE AVE
       HOLMEN, WI 546367202
       STEVEA137@CHARTER.NET
       STEVEA137@GMAIL.COM

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      (608) 769-1451

      36.    Additionally, according to the information provided by Meta in the

CyberTipline reports, the following Facebook/Instagram accounts are linked by device

and/ or IP address to ACCOUNT 1:

      SUSPECT Facebook account:
      Name: Steve Anderegg
      Mobile Phone: +16087691451 (Verified)
      Date of Birth: 07-05-1981
      Approximate Age: 42
      Email Address: bewolf.geo@yahoo.com (Verified)
      Email Address: stevea137@gmail.com (Verified)
      Screen/User Name: steve.anderegg
      ESP User ID: 529690284
      Profile URL: https:/ /www.facebook.com/ steve.anderegg

      SUSPECT Instagram account:
      Instagram Full Name: Dom
      Instagram Username: _dhyana_gg
      Instagram UID: 55017690550
      DOB: July 6 2009
      Age: 14
      Gender: Unknown
      Associated E-Mail Address: None
      Associated Phone Number: +16087691451

      37.    The _dhyana_gg Instagram account ( ACCOUNT 2) was referenced in

another CyberTipline report numbered 138694255 based on information Instagram

reported to NCMEC on November 12, 2022. According to this report, ACCOUNT 2

received an image from another Instagram account via direct message on or about

November 9, 2022, that Instagram flagged as depicting potential child pornography.

According to the report, Instagram did not review this image before submitting the

information to NCMEC.




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       38.    Through open-source searching, PPA Cattaneo was able to identify and

locate Minor A. On November 22, 2023, the Georgia Bureau of Investigation (GB!) was

able to confirm Minor A's identify. GBI SA Trisha Cannon interviewed Minor A on

December 18, 2023. Minor A disclosed his date of birth was in 2008 and confirmed his

Instagram username was the one in the conversation with ACCOUNT 1.               Minor A

reported talking through Instagram with an account that had the vanity name "KING

AIDEN," who was posting "immoral and illegal" child pornography on KING AIDEN's

public Instagram profile. Minor A stated that he discovered KING AID EN' s profile

while searching for motorcycle pages in the Instagram search feature. Minor A thought

he remembered the KING AIDEN profile as being the same as ACCOUNT 1. KING

AIDEN told Minor A that KING AID EN used the Prodia AI generator 4 to create AI

images. Minor A stated he requested images of "boys in the woods." Minor A stated

that KING AID EN requested images of Minor A, who then sent a completely nude

image of himself to KING AIDEN via Instagram's "vanish mode" function.

        39.   In a subsequent phone call, Minor A told SA Cannon that he believed

KING AID EN and DOM were two separate people. However, based on my training

and experience, and the fact that ANDEREGG has used multiple Instagram profiles, I

believe they are likely the same person. Moreover, even if they are not the same person,

information provided by Instagram shows that someone using ANDEREGG' s account




4According to publicly available information, the Prodia AI generator is a free AI image
generator that utilizes Stable Diffusion.

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sent the apparently AI-generated images described above to Minor A, in violation of

federal statute.

       40.    SA Cannon obtained consent from the juvenile to search his electronic

items and located multiple AI generated CSAM images in the deleted folder.

       41.    I am familiar with Steven Anderegg from a previous investigation in 2019.

While reviewing law enforcement observations on the peer-to-peer file sharing network

Freenet, I observed activity from an IP address requesting known files of child sexual

abuse material. The internet subscriber for the suspect IP address resolved to Steven

Anderegg at the SUBJECT PREMISES. The IP address was observed requesting more

than 40 files of known CSAM. The files ranged from prepubescent to young pubescent

children engaged in sex acts.

       42.    On April 28, 2020, agents with WI DOJ-DCI served a search warrant at the

SUBJECT PREMISES and collected numerous electronic items. During my interview

with Anderegg, he admitted to using multiple peer-to-peer platforms to include

Freenet. When asked about seeing CSAM online, Anderegg said "nothing really pops

into my mind, but obviously there's lots that you can't really tell if they're 16, 19, or 20."

Anderegg stated he didn't knowingly download any CSAM that law enforcement

observed being requested over the Freenet network and said he was surprised they all

came from one IP address, since he often reset, or unplugged and re-plugged his

modem. Anderegg also admitted he would typically uninstall Freenet after every use

and re-install it when he wanted to use it again but did not admit at any point to

intentionally searching for or downloading CSAM.



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      43.     A full forensic exam was completed on Anderegg's devices seized during

the search warrant. The examination uncovered two forensic artifacts labeled as

"file:/ //Z:/llyo%20jacks%20off%20cums%20with%20sound.wmv" and

"file:// /Z:/NEW2009_9yboycum.wmv," both of which contain terms that I know are

indicative of CSAM.

       44.    Files associated with Frostwire (an additional program Freenet users

utilize to request files) were also found during the forensic examination, including files

titled "Beryle Shirtless Boy Model (Preteen) (Model Promotions)," "David, Noah &

Friends (Boy Candids - UPDATED)," and "Dennis at camp (boy candids)."

       45.    On or about January 29, 2024, I applied for and obtained a federal warrant

to search and seize certain data from the Instagram account (ACCOUNT 1) described

above. After serving this warrant on Instagram, I received a copy of certain data

maintained by Instagram associated with ACCOUNT 1, including private messages the

user of ACCOUNT 1 exchanged with other Instagram users. During my review of that

content, I observed the private-message exchange between the user of ACCOUNT 1 and

Minor A described above. My review of that message exchange revealed that, in

addition to the two apparently AI-generated images described above, ACCOUNT 1 sent

a third image that also appeared to be computer-generated and depicted prepubescent

minors exposing their penises to the viewer. This third image depicted what appeared

to be three prepubescent boys standing in a row in a wooded area. The boys are all

shirtless and wearing tiny shorts. The boy on the left has his erect penis sticking out of

his shorts. The boy on the right has his shorts zipped down to expose his penis, which

the boy in the middle appears to be gripping with his hand. The boys are clearly
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intended to be prepubescent based on their small statures, underdeveloped physiques,

and youthful facial features.

       46.    During my review of ACCOUNT 1' s private messages, I also observed an

exchange between ACCOUNT 1 and another Instagram user who reported himself to

be a 15-year-old male from around October 2023. ACCOUNT 1 discussed sexually

explicit topics with this other user, told the user that he likes "looking at" prepubescent

and pubescent boys, and generally expresses a sexual interest in minor males. In

another private-message exchange from around September 2023, a different user sends

ACCOUNT 1 two videos unprompted. The videos appear to depict a pubescent male,

based on his general size, facial features, and bodily development, exposing his penis

and masturbating. ACCOUNT 1 responds "Thanks, I guess?" In various other private-

message exchanges, posts, and comments from 2023, ACCOUNT 1 mentions that he

shares AI-generated images of minor boys on an encrypted mobile messaging

application called Telegram and that he runs image-generating AI programs on his own

computer locally so that he can produce "sexier" images without being "censored" by

online AI models.

       47.    During recent surveillance of his residence, agents observed Anderegg

driving a 2018 gray Tesla Model 3 with Wisconsin registration plate 830-NLZ.

Anderegg is also the registered owner of a silver 2017 Subaru Crosstrek SUV with

Wisconsin registration plate 178-TNW. Both these vehicles are registered to the

SUBJECT PREMISES.

       48.    Based on my h·aining and experience, people often keep cell phones on

their person and computers in their vehicles. Additionally, the items we are searching
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for are very small and portable. Therefore, I request permission to search all

Anderegg' s vehicles and person.

                                    CONCLUSION

       49.    Based on the forgoing, I request that the Court issue the proposed search

warrant.




                                                Ryan Condon
                                                Special Agent
                                                WIDOJ-DCI
                                          on+
                      before me this 1-    day of February 2024.



Honorable STEPHEN L. CROCKER
Honorable ANDREW R. WISEMAN
United States Magistrate Judge




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                                  ATTACHMENT A

      1.     The property to be searched is N6960 Bice Ave, Holmen, Lacrosse

County, Wisconsin further described as a two-story, single-family residence on the east

side of the street that faced to the west. The residence had an attached three car garage.

The house is covered in a mix of light tan horizontal vinyl siding and light brown/ gray

brick. The lower third of the garage pillars and entire front porch area have the same

brick. The front door is tan and has a thin vertical window to the left of the door. The

top of the door has a window shaped in a half-circle. Affixed horizontally to the brick

on the pillar to the right of the garage are the numbers "N6960." At the end of the

driveway is a green sign affixed to a metal post with the numbers on "N6960"

vertically. The roof appears to have brown asphalt shingles. There appears to be one

storage shed visible from the road on the property. The shed is located south of the

residence and was brown in·color.

      2.     The vehicles to be searched are a 2018 gray Tesla Model 3 with Wisconsin

registration plate 830-NLZ and a silver 2017 Subaru Crosstrek SUV with Wisconsin

registration plate 178-TNW, both returning to Anderegg' s residence.

      3.     According to Anderegg' s driver's license, he is 6'2", weighs 220 pounds,

and has brown hair and blue eyes.
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                                    ATTACHMENT B

                             LIST OF ITEMS TO BE SEIZED

      1.      Cell phones, computer(s), computer hardware, computer software,

computer related documentation, computer passwords and data security devices,

videotapes, video recording devices, video recording players, and video display

monitors that may be, or are used to: visually depict child pornography, child erotica, or

visual representations of any kind of minors engaged in sexually explicit conduct;

display or access information pertaining to a sexual interest in child pornography;

display or access information pertaining to sexual activity with children; or distribute,

possess, or receive child pornography, child erotica, visual representations of any kind

of minors engaging in sexually explicit conduct, or information pertaining to an interest

in child pornography, child erotica, or any such visual representations.

       2.     Any and all computer software, including programs to run operating

systems, applications (such as word processing, graphics, or spreadsheet programs),

utilities, compilers, interpreters, and communications programs.

       3.     Any and all notes, documents, records, or correspondence, in any format

and medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and handwritten notes) pertaining to the distribution

or possession of child pornography, the production, distribution, or possession of

explicit material in violation of 18 U.S.C. §1466A, transferring or attempting to transfer

obscene material to a minor in violation of 18 U.S.C §1470, or the importation or

transportation of obscene matter in violation of 18 U.S.C. §1462(a).
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       4.     In any format and medium, all originals, computer files, copies, and

negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual depictions of

minors engaged in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), or child

erotica, or cartoon, computer generated, or artificial intelligence generated child sexual

abuse material.

       5.     Any and all diaries, address books, names, and lists of names and

addresses of individuals who may have been contacted by the operator of N6960 Bice

Ave, Holmen, WI, by use of the computer or by other means for the purpose of

distributing or receiving in any format and medium, all originals, computer files,

copies, and negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual

depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. §

2256(2), or child erotica, or cartoon, computer generated, or artificial intelligence

generated child sexual abuse material).

       6.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and handwritten notes), identifying persons

transmitting, through interstate or foreign commerce by any means, including, but not

limited to, by the United States Mail or by computer, any originals, computer files,

copies, and negatives of child pornography as defined in 18 U.S.C. § 2256(8), visual

depictions of minors engaged in sexually explicit conduct as defined in 18 U.S.C. §

2256(2), or child erotica, or cartoon, computer generated, or artificial intelligence

generated child sexual abuse material.
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       7.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, other digital data files and web cache information)

concerning the receipt, transmission, or possession of child pornography as defined in

18 U.S.C. § 2256(8) or visual depictions of minors engaged in sexually explicit conduct,

as defined in 18 U.S.C. § 2256(2).

       8.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and other digital data files) concerning

communications between individuals about child pornography or the existence of sites

on the Internet that contain child pornography or visual depictions of any kind of

minors engaged in sexually explicit conduct, or that cater to those with an interest in

child pornography or such depictions.

       9.     Any and all notes, documents, records, or correspondence, in any format

or medium (including, but not limited to, envelopes, letters, papers, e-mail messages,

chat logs and electronic messages, and other digital data files) concerning membership

in online groups, clubs, or services that provide or make accessible cl1ild pornography

or visual depictions of any kind of minors engaging in sexually explicit conduct to

members.

       10.    Any and all records, documents, invoices and materials, in any format or

medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat

logs and elech·onic messages, and other digital data files) that concern any accounts
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with an Internet Service Provider.

       11.    Any and all records, documents, invoices and materials, in any format or

medium (including, but not limited to, envelopes, letters, papers, e-mail messages, chat

logs and electronic messages, and other digital data files) that concern online storage or

other remote computer storage, including, but not limited to, software used to access

such online storage or remote computer storage, user logs or archived data that show

connection to such online storage or remote computer storage, and user logins and

passwords for such online storage or remote computer storage.

       12.    Any and all cameras, film, videotapes or other photographic equipment.

       13.    Any and all visual depictions of minors.

       14.    Any and all address books, mailing lists, supplier lists, mailing address

labels, and any and all documents and records, in any format or medium (including,

but not limited to, envelopes, letters, papers, e-mail messages, chat logs and electronic

messages, and other digital data files), pertaining to the preparation, purchase, and

acquisition of names or lists of names to be used in connection with the purchase, sale,

trade, or transmission, through interstate or foreign commerce by any means, including

by the United States Mail or by computer, any child pornography as defined in 18

U.S.C. § 2256(8) or any visual depiction of minors engaged in sexually explicit conduct,

as defined in 18 U.S.C. § 2256(2).

       15.    Any and all diaries, notebooks, notes, and any other records reflecting

personal contact and any other activities with minors visually depicted while engaged

in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2).
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       16.    For any electronic storage device, computer hard drive, electronic device,

or other physical object upon which electronic information can be recorded (electronic

storage device) that is called for by this warrant, or that might contain things otherwise

called for by this warrant:

              a.     evidence of who used, owned, or controlled the electronic storage

device at the time the things described in this warrant were created, edited, or deleted,

such as logs, registry entries, configuration files, saved usernames and passwords,

documents, browsing history, user profiles, email, email contacts, chat, instant

messaging logs, photographs, and correspondence;

              b.     evidence of software that would allow others to control the

electronic storage device, such as viruses, Trojan horses, and other forms of malicious

software, as well as evidence of the presence or absence of security software designed to

detect malicious software;

              c.     evidence of the lack of such malicious software;

              d.     evidence indicating how and when the electronic storage device

was accessed or used to determine the chronological context of electronic storage device

access, use, and events relating to crime under investigation;

              e.     evidence indicating the electronic storage device user's location and

state of mind as it relates to the crime under investigation;

              f.     evidence of the attachment to the electronic storage device of other

storage devices or similar containers for electronic evidence;

              g.     evidence of counter-forensic programs (and associated data) that
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are designed to eliminate data from the electronic storage device;

              h.     evidence of the times the electronic storage device was used;

              i.     passwords, encryption keys, and other access devices that may be

necessary to access the electronic storage device;

              j.     documentation and manuals that may be necessary to access the

electronic storage device or to conduct a forensic examination of the electronic storage

 device;

              k.     contextual information necessary to understand the evidence

described in this attachment.

       During the execution of the search of the premises described in Attachment A,

law enforcement personnel are authorized to press the fingers (including thumbs) of

individuals found at the premises to the Touch ID sensor of Apple brand device(s), such

as an iPhone or iPad, found at the premises for the purpose of attempting to unlock the

device via Touch ID in order to search the contents as authorized by this warrant.
